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 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9                                    AT SEATTLE

10   UNITED STATES OF AMERICA,                            NO. CR07-264-RSM
11                                 Plaintiff,
12
            v.                                            SUMMARY REPORT OF
13                                                        U.S. MAGISTRATE JUDGE AS
     LASHAYE MARIE PERKINS,                               TO ALLEGED VIOLATIONS
14                                                        OF SUPERVISED RELEASE
                                   Defendant.
15

16          An initial hearing on a petition for violation of supervised release was held before the
17   undersigned Magistrate Judge on February 10, 2012. The United States was represented by
18   Assistant United States Attorneys Vincent Lombardi and the defendant by Jesse Cantor.
19          The defendant had been charged and convicted of Bank Fraud, in violation of 18 U.S.C.
20   § 1344. On or about January 11, 2008, defendant was sentenced by the Honorable Ricardo S.
21   Martinez, to a term of 5 months in custody, to be followed by 5 years of supervised release.
22          The conditions of supervised release included the requirements that the defendant
23   comply with all local, state, and federal laws, and with the standard conditions. Special
24   conditions imposed included, but were not limited to, participation in substance abuse and
25   mental programs; financial disclosure; $15,406.04, submit to search, maintain single checking
26   account for all income and expenses, surrender any requested business documents, obtain no


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:07-cr-00264-RSM          Document 312         Filed 02/13/12      Page 2 of 3




 1   new credit or loans, and not possess any form of identification in any name other than the

 2   defendant’s true name..

 3          In a Petition for Warrant or Summons for Offender Under Supervision dated September

 4   9, 2011, U.S. Probation Officer Andrew J. Lorenzen asserted the following violations by

 5   defendant of the conditions of her supervised release:

 6             1.     Failing to notify the probation officer at least ten days prior to any change in

 7                    residence or employment, on or about September 8, 2011, in violation of

 8                    standard condition number 6.

 9             2.     Failing to complete truthful and complete written monthly reports for the

10                    months of May, June, July, and August 2011, in violation of standard

11                    condition number 2.

12          The defendant was advised of her rights, acknowledged those rights, and admitted to

13   violation 2. Defendant denied alleged violation 1, and requested that an evidentiary hearing be

14   set on the same day as a disposition hearing before the Honorable Ricardo S. Martinez on the

15   alleged violation.

16          I therefore recommend that the Court find the defendant to have violated the terms and

17   conditions of her supervised release as to violation 2 and that the Court conduct an

18   evidentiary/disposition hearing on alleged violation 1. A disposition hearing on violation 2,

19   and an evidentiary/disposition hearing on alleged violation 1, has been set for February 24,

20   2012 at 10:00 a.m. before the Honorable Ricardo S. Martinez.

21          Pending a final determination by the Court, the defendant has been detained.

22          DATED this 10th day of February, 2012.

23

24
                                                   A
                                                   JAMES P. DONOHUE
25                                                 United States Magistrate Judge

26


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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     cc:    District Judge:         Honorable Ricardo S. Martinez
 1
            AUSA:                   Vincent Lombardi
 2          Defendant’s attorney:   Jessee Cantor
            Probation officer:      Andrew Lorenzen
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
